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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

  WILMINGTON SAVINGS FUND            : CASE NO.: 3:22-cv-00077-BJD-JBT
  SOCIETY, FSB, not in its individual:
  capacity, but solely as Indenture  :
  Trustee and Paying Agent of        :
  ALPHAFLOW            TRANSITIONAL  :
  MORTGAGE TRUST 2021-WL1, a         :
  Delaware statutory trust           :
                                     :
                Plaintiff            :
                                     :
  vs.                                :
                                     :
  24 JACKSONVILLE, LLC, a Florida :
  limited liability company,         :
                                     :
                Defendants           :
  __________________________________ :

                     AMENDED NOTICE OF LIS PENDENS

 TO:   24 JACKSONVILLE, LLC, a Florida limited liability company,
       EVERARDO MATAMOROS, an individual, ABIEL BALLESTEROS, an
       indivdiual, TAX COLLECTOR OF DUVAL COUNTY, FLORIDA, LAND
       JAX LLC, a Florida limited liaiblity company, successor by assignment to
       JAX BG, LLC, CITY OF JACKSONVILLE, FLORIDA, RONNIE L. SALIS,
       SR., BANCBOSTON MORTGAGE CORPORATION, a Florida corporation,
       ALL UNKNOWN TENANTS IN POSSESSION, and ALL OTHER WHOM
       IT MAY CONCERN:

       You are notified of the following:

       1.    The Plaintiff in this matter has instituted this action against you

             seeking to foreclose a mortgage with respect to the real property

             indentified below.
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       2.    The Plaintiff in this action is Wilmington Savings Fund Society, FSB,

             not in its individual capacity, but solely as Indenture Trustee and

             Paying Agent of AlphaFlow Transitional Mortgage Trust 2021-WL1,

             successor by assignment to JAFW, successor by assignment to

             AlphaFlow, Inc., successor by assignment to AlphaFlow WHO, LLC,

             successor by assignment to Firm Lending, LLC.

       3.    The date of institution of this action is January 21, 2022, as amended

             on July 7, 2022, as amended on August 19, 2022, and as amended on

             September 6, 2022.

       4.    The Property that is the subject matter of this action is located in

             Duval County, Florida and is described as follows:

                   PROPERTY 01
                   Part of Lot 12, Block 1, Sidney Brown’s Subdivision, according
                   to the plat thereof, recorded in Plat Book 19, Page(s) 34, of the
                   Current Records of Duval County, Florida, and being more
                   particularly described as follows:

                   Commencing at the Southeast corner of Lot One (1), Block
                   One (1), as shown on Map of Fayetteville, as recorded in Plat
                   Book 29, Page 72, of the Current Public Records of Duval
                   County, Florida, said Southeast corner being on the Northerly
                   line of said Lot Twelve (12); thence South one (1) degree
                   Twenty (20) minutes East, zero and eighteen hundredths
                   (0.18) feet to the point of curve to the left, said curve being
                   concave to the Northeast and having a radius of one hundred
                   fifty-five and forty-four hundredths (155.44) feet; thence
                   Southeasterly along and around said curve, an arc distance of
                   forty-five and twenty hundredths (45.20) feet to the Point of
                   Beginning; thence continue along and around said curve, an

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                   arc distance of twenty-two and seven hundredths (22.07) feet;
                   thence South sixty-three (63) degrees fifty-four (54) minutes
                   West, ninety-two and five tenths (92.5) feet, more or less, to
                   the waters of Moncrief Creek; thence Northerly and along said
                   waters of Moncrief Creek, twenty-three (23.0) feet, more or
                   less, to the intersection of said waters with a line bearing
                   South sixty-three (63) degrees fifty-four (54) minutes West and
                   being eighty-seven (87.0) feet, more or less, from the Point of
                   Beginning; thence North sixty-three (63) degrees fifty-four (54)
                   minutes East eighty-seven (87) feet, more or less, to the Point
                   of Beginning.

                   Address: 1996 Erline Drive, Jacksonville, Florida 32209
                   Parcel ID: 087350-0000

                   PROPERTY 02
                   Lot 22, Block 15, St. Elmo, according to the map or plat
                   thereof, as recorded in Plat Book 3, Page(s) 77, of the Public
                   Records of Duval County, Florida.

                   Address: 1470 East 30th Street, Jacksonville, Florida 32206
                   Parcel ID: 132480-0000

                   PROPERTY 03
                   Lot 11, Block 3A, Jackson’s Replat of Block 3 of Harvey’s
                   Addition to Jacksonville, according to the map or plat thereof,
                   as recorded in Plat Book 18, Page(s) 12, of the Public Records
                   of Duval County, Florida.

                   Address: 3018 Imperial Street, Jacksonville, Florida 32254
                   Parcel ID: 058175-0000

                   PROPERTY 04
                   West 1/2 of Lot 62, Block 8, Oakland, according to the map or
                   plat thereof, as recorded in Plat Book Q, Page(s) 443, of the
                   Public Records of Duval County, Florida.

                   Address: 645 Odessa Street, Jacksonville, Florida 32206
                   Parcel ID: 122204-0000



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                   PROPERTY 05
                   Lot 19 together with that certain Part of Lot 20 as described as:
                   Lot 20, Block 11, according to Plat of Lincoln Place as recorded
                   in Plat Book 11, Page 50, of the current Public Records of
                   Duval County, Florida and being more particularly described
                   as follows:

                   Commence for a Point of Reference at the Intersection of the
                   South Right of Way Line of 13th Street (a 60 foot Right of Way
                   as now established) with the East Line of said Lot 20; thence
                   South 1 degrees 01 minutes 01 seconds West along the East
                   Line of said Lot 20, a distance of 99.02 feet to the Point of
                   Beginning; thence continue South 1 degrees 01 minutes 01
                   seconds West along the East Line of said Lot 20, a distance of
                   2.14 feet to the Southeast Corner of said Lot 20; thence South
                   89 degrees 18 minutes 13 seconds West along the South Line
                   of said Lot 20, a distance of 22.31 feet to the Southwest Corner
                   of said Lot 20; thence North 0 degrees 52 minutes 33 seconds
                   East along the West Line of said Lot 20, a distance of 2.55 feet;
                   thence North 90 degrees 00 minutes 00 seconds East 37.71 feet
                   to the Point of Beginning.

                   Address: 1925 West 12th Street, Jacksonville, Florida 32209
                   Parcel ID: 051714-0000

                   PROPERTY 06
                   Lot 7, Block 3, Terrace Park Replat, according to the map or
                   plat thereof, as recorded in Plat Book 21, Page(s) 64, of the
                   Public Records of Duval County, Florida.

                   Address: 3442 Brookhaven Drive, Jacksonville, Florida 32254
                   Parcel ID: 059054-0000

                   PROPERTY 07
                   The South 22 feet of the North 60 feet of Lot 1, Block 3, Sidney
                   Browns Subdivision, according to the map or plat thereof, as
                   recorded in Plat Book 19, Pages(s) 34, of the Public Records of
                   Duval County, Florida.




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                   Address: 3634 Effee Street, Jacksonville, Florida 32209
                   Parcel ID: 087364-0000

                   PROPERTY 08
                   Lot 20, Block 15, St. Elmo, according to the map or plat
                   thereof, as recorded in Plat Book 3, Page(s) 77, of the Public
                   Records of Duval County, Florida.

                   Address: 1464 East 30th Street, Jacksonville, Florida 32206
                   Parcel ID: 132478-0000

                   PROPERTY 09
                   Lot 12, Block 16, Thompson’s Addition to East Springfield a
                   Re-Plat of Dockview, according to the map or plat thereof, as
                   recorded in Plat Book 6, Page(s) 48, of the Public Records of
                   Duval County, Florida.

                   Address: 1625 East 14th Street, Jacksonville, Florida 32206
                   Parcel ID: 131921-0000

                   PROPERTY 10
                   Lot 15, Block 4, Long Branch Manor, according to the map or
                   plat thereof, as recorded in Plat Book 17, Page(s) 81, of the
                   Public Records of Duval County, Florida.

                   Address: 1823 East 23rd Street, Jacksonville, Florida 32206
                   Parcel ID: 131630-0000

                   PROPERTY 11
                   Lot 4, Block 67, The Main Street Company, according to the
                   map or plat thereof, as recorded in Plat Book 5, Page(s) 11, of
                   the Public Records of Duval County, Florida.

                   Address: 24 West 22nd Street, Jacksonville, Florida 32206
                   Parcel ID: 133644-0000




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                   PROPERTY 12
                   Lot 3, Block 1, Curtiss & Sone’s Subdivision of Lot 14, Block B
                   of Long Branch, according to the map or plat thereof, as
                   recorded in Plat Book 2, Page(s) 71, of the Public Records of
                   Duval County, Florida.

                   Address: 1717 East 22nd Street, Jacksonville, Florida 32206
                   Parcel ID: 131781-0000

                   PROPERTY 13
                   Lot 11, Deason, according to the map or plat thereof, as
                   recorded in Plat Book 16, Page(s) 8, of the Public Records of
                   Duval County, Florida.

                   Address: 3234 Broadway Avenue, Jacksonville, Florida 32254
                   Parcel ID: 057394-0000

                   PROPERTY 14
                   Lot 5 and 6, Block 67, The Main Street Company’s Subdivision
                   of Lots 8 & 10, Block M, Longbranch, according to the Plat
                   thereof recorded in Plat Book 5, Page 11, of the Public Records
                   of Duval County, Florida.

                   Address: 38 West 22nd Street, Jacksonville, Florida 32206
                   Parcel ID: 133645-0000

                   PROPERTY 15
                   Lot 7, Block 67, The Main Street Company’s Subdivision of
                   Lots 8 & 10, Block M, Longbranch, according to the Plat
                   thereof recorded in Plat Book 5, Page 11, of the Public Records
                   of Duval County, Florida.

                   Address: 40 West 22nd Street, Jacksonville, Florida 32206
                   Parcel ID: 133646-0000

                   PROPERTY 16
                   A portion of Lot 26, of Picket’s Subdivision of the Charles F.
                   Sibbald Grant, Section 39, Township 1 South, Range 26 East,
                   Duval County, Florida, more particularly described as
                   follows:

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                   A Tract of Land Bounded on the Northwest by a line parallel
                   to a distant 510 feet Southeasterly from Southeasterly
                   boundary of the lands conveyed to George Kelly by deed
                   recorded in the current Public Records of Duval County,
                   Florida in Deed Book 627, Page 129, when measured parallel
                   to Moncrief road (Duval County road No. 9); bounded on the
                   Northeast by the Right of Way of said Moncrief road;
                   bounded on the Southeast by a line parallel and distance 650
                   feet Southeasterly from the Southeasterly boundary of said
                   George Kelly lands, when measured parallel to said Moncrief
                   road and bounded on the Southwest by part of the
                   Northeasterly boundary of Lot 3, Block 23, Royal Terrace
                   Addition No. 1, as per Plat recorded in the current Public
                   Records of Duval County, Florida, in Plat Book 18, Page 17.

                   All bearings used in the foregoing described are based on grid
                   North as established in the System of Transverse Kercator
                   Plane Coordinates as Established for the Eastern Peninsula
                   portion of Florida by the U.S. Coast and Geodetic survey and
                   not on the true North.

                   Less and except those parts recorded in Official Records Book
                   222, Page 327, Official Records Book 484, Page 452 and Official
                   Records Book 634, Page 561 and any parts lying in road Right
                   of Way.

                   Address: 5824 Moncrief Road, Jacksonville, Florida 32209
                   Parcel ID: 026474-0000

                   PROPERTY 17
                   Lot 11, Block 10, and the South one-half of the closed alley
                   lying Northerly thereof, of S.J. Melson Addition to
                   Jacksonville, according to the Plat thereof, recorded in Plat
                   Book 5, Page 41, of the current Public Records of Duval
                   County, Florida.

                   Address: 3159 19th Street, Jacksonville, Florida 32254
                   Parcel ID: 048406-0000




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                   PROPERTY 18
                   The North 45 feet of Lots 21 and 22, of Barnett’s Subdivision,
                   according to the Plat thereof, recorded in Plat Book 2, Page 79,
                   of the Public Records of Duval County, Florida.

                   Address: 1520 Wilcox Street, Jacksonville, Florida 32209
                   Parcel ID: 053716-0000

                   PROPERTY 19
                   Lot 4, in Block “B”, of Corwin’s Addition to Campbell’s
                   Addition to Jacksonville, according to the Plat thereof,
                   recorded in Plat Book 1, Page 117, of the Former Public
                   Records of Duval County, Florida.

                   Address: 1117 Winthrop Street, Jacksonville, Florida 32206
                   Parcel ID: 114870-0000

                   PROPERTY 20
                   Lots 27 and 28, in Block 27A, of Oakwood Villa Estates,
                   according to the Plat thereof, recorded in Plat Book 8, Page 23,
                   24 and 25, of the Current Public Records of Duval County,
                   Florida.

                   Address: 8539 Berry Avenue, Jacksonville, Florida 32211
                   Parcel ID: 144536-0000

                   PROPERTY 21
                   Lot 7, Block 12, of Replat Number 2 of Royal Terrace,
                   according to the Plat thereof, recorded in Plat Book 7, Page 19,
                   of the Current Public Records of Duval County, Florida.

                   Address: 1582 West 33rd Street, Jacksonville, Florida 32209
                   Parcel ID: 085094-0000

       Dated this 6th of September, 2022 but made effective as of the 21st day of

 January, 2022.




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                                     Respectfully submitted by:

                                     s/ Michael J. Palumbo
                                     ____________________________________________________________________________________

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